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NEWMEYER & DIELLION LLp

ATTORNEYS AT LAW

 

FRANCIS E. QUINLAN File No.:
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March 12, 2019

Hon. Douglas F. McCormick
United States Magistrate Judge
Ronald Reagan Federal Building
United States Courthouse

411 West Fourth Street, Suite 4170
Santa Ana, CA 92701-4597

Re: ALVAREZ, JOSEPH
Docket No. 0973 8:18CR00048-1

Dear Judge McCormick:

Please find an additional letter in support of Mr. Alvarez.

 

FEQ:mag

Enclosure

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February 11, 2019

Honorable Douglas F. McCormick
United States Magistrate Judge
United States Court House

Santa Ana, California 92701

Re: ALVAREZ, Joseph
Docket No. 0973 8:18CR00048-1

Dear Judge McCormick,

My name is Sean Foy, founding principle and President of Personal Wellness
Corporation, a California-based international wellness-consulting firm. | am writing
this letter to you to share with you my thoughts related to my relationship and
experience with Joseph, aka: “Joey” Alvarez.

| met Joey at a time in my life that was very challenging. My father had been
diagnosed with Alzheimers and our family was looking for a long term care facility
for him. We learned of Agape Cottages, Joey’s organization, through a mutual friend
who highly recommended his services. As a family, we weren’t sure if placing my
father in long term care would be the right decision, until we met Joey. From the
first day we met, Joey treated my father and our family like we were a member of
the Alvarez family. | assumed with Joey being the owner of Agape Cottages | would
interact with him only on the admission of my father. | was incredibly and pleasantly
surprised that Joey would regularly visit my father and the other guests of the
home, seeing him weekly. Joey also regularly hosted parties for all the families to
gather together at the Agape home and made it a point to know each and everyone
of the family members personally. My father was so well taken care of that he felt
as if he was home and his remaining time on this earth was both meaningful,
peaceful and joyful.

Not only was Joey’s care exceptional and personal but his management and support
of his staff was stellar. As a founder and President of my own business and working
as a wellness consultant in Corporate America for the last 25 years | have never seen
a more positive work environment. Every time | was there to visit my father, which
was often, | was overjoyed to see how much Joey’s staff loved my father and the
others there in Agape Cottages. This type of care does not happen by chance. Joey’s
leadership, love and care for each of the staff was evident in their daily work and
all they did to bless those in Agape Cottages.

My father spent his last days on this earth as a “family members” of Agape Cottages,
but my relationship with Joey continued. Joey is a regular attender to our Men’s
weekly fellowship group at our church in Yorba Linda and over the last six years |
have come to know Joey as a close and personal friend. | have had the opportunity
to see Joey’s love and compassion for others outside of work and also have
witnessed his passion to make an impact for others, especially the elderly.
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| have observed Joey in various situations throughout our relationship together and
have seen him in all instances maintain the greatest commitment to selfless
leadership, tireless service to others, the highest level of integrity and humility, a
deep and abounding resilience and a devotion and loyalty to his family, friends,
coworkers and all he comes in contact with.

It is a rarity to meet and work with an individual with the number and gifts and
talents Joey possesses. He has displayed these strengths in his personal life, his love
and devotion to his wife and daughters and through Agape Cottages. His
commitment to achieve only the highest of standards for himself is contagious and
encourages all who come into contact with him to give and be their very best. |
know this personally, as he has had a significant influence upon my life, as well as
watching those who know him have only the highest respect and admiration for
him.

| am very much interested in Joey’s future and would be happy to speak with
anyone, should you have any questions or need additional information.

Sincerely,

Sean Foy, MA
Founder/President

Personal Wellness Corporation
sean@personallyfit.com

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